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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-13-513
                                                  §
                                                  §
                                                  §
MICHAEL RAMBARAN, et al.                          §

                                                ORDER

       Defendant Rambaran filed an unopposed motion for continuance, (Docket Entry No. 55) The

government and cofendants are unopposed to the motion. The court finds that the interests of

justice are served by granting this continuance and that those interests outweigh the interests of the

public and the defendants in a speedy trial. The motion for continuance is GRANTED. The docket

control order is amended as follows:

       Motions are to be filed by:                     February 24, 2014
       Responses are to be filed by:                   March 10, 2014
       Pretrial conference is reset to:                March 17, 2014 at 8:45 a.m.
       Jury trial and selection are reset to:          March 24, 2014 at 9:00 a.m.


               SIGNED on November 12, 2013, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
